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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION



ENCODITECH LLC,
                                                   §
        Plaintiff,                                 §
                                                   §
v.                                                 §         Civil Action No. SA-18-CV-01335-XR
                                                   §
CITIZEN WATCH COMPANY OF                           §
AMERICA, INC.,                                     §
                                                   §
       Defendant.
                                                   §
                                                   §


     ORDER SETTING STATUS CONFERENCE AND HEARING ON ALL PENDING MOTIONS

       On this day the Court considered the status of this case. This case is set for a status conference
and hearing on all pending motions, if any, on Thursday, May 02, 2019 at 10:30 AM. in Courtroom
Number 3, John H. Wood, Jr. United States Courthouse, 655 E. Cesar Chavez Blvd., San Antonio, Texas
78206. The parties should be prepared to discuss all pending motions.

It is so ORDERED.


        SIGNED March 21, 2019.




                                     XAVIER RODRIGUEZ
                                     UNITED STATES DISTRICT JUDGE




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